Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 1 of 19 Page ID #:4




                          EXHIBIT A
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 2 of 19 Page ID #:5

                                                                             Service of Process
                                                                             Transmittal
                                                                             02/14/2017
                                                                             CT Log Number 530696010
   TO:     Irma Velazquez
           DeVry Education Group Inc.
           3005 Highland Parkway
           Downers Grove, IL 60515-5799

   RE:     Process Served in California

   FOR:    Devry University, Inc.  (Domestic State: IL)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                   Bruce Rorty, Pltf. vs. University Alliance Online, etc., et al., Dfts. // To: Devry
                                      University, Inc.
   DOCUMENT(S) SERVED:                Summons, Instructions, Complaint
   COURT/AGENCY:                      Los Angeles County - Superior Court, CA
                                      Case # 16K00055
   NATURE OF ACTION:                  Plaintiff prays for judgment against defendants For costs of suit and For such other
                                      and further relief as the Court may deem just and proper.
   ON WHOM PROCESS WAS SERVED:        C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:          By Process Server on 02/14/2017 at 13:55
   JURISDICTION SERVED :              California
   APPEARANCE OR ANSWER DUE:          Within 30 days after service
   ATTORNEY(S) / SENDER(S):           Robert F. Smith
                                      Law Offices Robert F. Smith
                                      16200 Ventura Blvd., #308
                                      Encino, CA 91436
                                      818-231-2331
   ACTION ITEMS:                      CT has retained the current log, Retain Date: 02/15/2017, Expected Purge Date:
                                      02/20/2017

                                      Image SOP

                                      Email Notification,  Gregory S. Davis  gsdavis@devry.com

                                      Email Notification,  Irma Velazquez  ivelazquez@devry.edu

                                      Email Notification,  Karen Baron  kbaron@devry.com

   SIGNED:                            C T Corporation System
   ADDRESS:                           818 West Seventh Street
                                      Los Angeles, CA 90017
   TELEPHONE:                         213-337-4615




                                                                             Page 1 of  1 / DB
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 3 of 19 Page ID #:6

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                                       SUMMONS                                                                     FOR COILiS
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                                   (CITACJQN JUDICIAL)
   NOTICE TO DEFgNDANT:
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   UNIVERSITY ALLIANCE ONLINE, a division of BISIC
   EDUCATION INC, a Florida corporation; s€a sum200 form
   YOU ARE BINQ SUED BY PLAIPJTIPF:
   (LO ESTA DEMANDANDO EL DEMANOANTE):
   BRUCE RORTY

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     Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 4 of 19 Page ID #:7

                                                                                                                           SUM.200(A
                                                                                              CASE NUMOER
   SHORT TITLE:
- BRUCE RORTY v. UNIVERSITY ALLIANCE ONLiNE, et al.

                                                        INSTRUCTIONS FOR USE
  3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  3 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of party.):

              Plaintiff            Defendant    E Cross-Complainant            Cross-Defendant


     DEVRY UNIVERSITY, INC., an Illinois corporation; CLICKSPARK, LLC, a New York domestic
   LLC; and DOES 1 to 100,




                                                                                                                 Page     2    of       2
                                                                                                                                    Page 1 of I
 Form Adopted for Mandatory Use
   Judtdat Cauncit of California               ADDITIONAL PARTIES ATTACHMENT
SuM-200(A)tRev.January1,2007                         Attachment to Summons
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 5 of 19 Page ID #:8
              I         I     3IQ1O61     1
01/05/2016 19;54 310241091                                       BRucERORTV                                   PAGE 2/22

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                  I
          ROBERT F. SMfl, slyn 116245
                                                                M1                      Superior Court
                                                                                           County 01 Los Angeles

          LAW OFFICES 1tOERT F. SMrrH                                                         JAN -8 ZUIS
        2 16200 Ventura Blvd. # 308
          Encino, California 91436
        3 Telephone (818) 231.2331                                                    BY
                                                                                              Cawn AIa
                      Attorney for plaintiff
        5                                      071 - 6 2016 1RiA1     ? I - 61 2017 USC: X        - 7 I 2O1
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        8
                                  SUPERIOR COURT OF CALiFORNIA, COUN'IY OF LOS
                                                                                  VIA          Ea
                                        CENTRAL DISTRICT, STANLEY MOSI( COURTHOUSE
         9

      10
      1 :1.
              I       BRUCE RORTY,
                                     plaintiff,
                                                                          CASE NO 16 K 00055

                                                                          (Limited Juijadictlon - Amount sought is
      12                                                                  $25,000 or less)
      13                                                                  (Assigned to ihe Hans. Patricia Nieto and
         UNWERSITY ALlIANCE ONLINE, a                                     Ran61ph Hammock Judges, Dept. 77)
      14 division of BISI( EDUCATION, INC.,a
         Honda corporation; DEVRY
      15 UNIVERSITY, INC., anililinois                                    COMPLAINT FOR:
         Corporation; CLICKSPAM LLC, a New
      16 YokdomesticLLC and DOBSltolOO,                                           UNLAWFUL RECORDING OF
                                                                                  TELEFBONE CALLS Penal Code
      17                             Defendantt                                   §632.7 637.2
                                                                                  UNLA?WPUL TELEMABXEITNG
      18                                                                         .47 U.S.C. §227 (c) (5)
      19

      20

      21.
                             CO&BS NOW, plaintiff Bnwe Rorty, ("plaInIift" or "Roxly") and alleges against the
      22
                      defndante, and each of them, the folloMng:
      23
                             1.      PlaintifI resided in San Pedro, CA 90732, County of Los Angeles, when the cails
      24
                      at issue were placed, and is and was a residential and personal mobile telephone subscriber. As of
      25
                      approxl.oiate]y late September2014, the residentIal landline solely used an AT & T phone with
      26
                      two pontable cordless telephone receivers. The landline number is (310) X4X-X6XX. The cell
      27
                      phone earner is T - Mobile, 310-X4X-X1XX, and it was registered on the National Do Not Call
      28
                      Registry on August 30, 2006, while the current landline was registerel on the National Do Not
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 6 of 19 Page ID #:9

   1 Call Registry on or about December ii, 2013.

   2          2.     Plaintiff is informed and believes and thereon alleges that at all material times

   3 alleged, defendant UNIVERSITY ALLIANCE ONLINE, a division of BISK EDUCATION,

   4 INC., a Florida corporation, is headquartered in Tampa Florida, and is in the business of

       operating for-profit private universities and other schools. University Alliance Online in part

   6 utilizes telemarketing to fill classroom chairs. University Alliance Online does business

   7 throughout California by virtue of having its employees and agents place calls to California
   8 residents, Plaintiff is informed and believes and thereon alleges that at all material times

   9 alleged, defendant CLICKSPARK LLC was a New York domestic limited liability company with

  10 I its headquarters in                 4465. Plaintiff is i

  11 that Clickspark utilizes the trade name www.degree match.com when soliciting new students via

  12 telemarketing. Clickspark does business in California by virtue of having their employees and
  13 I agents place calls to California residents.

  14           3.      Plaintiff is informed and believes and thereon alleges that at all material times

  15 alleged, defendant Devry University, Inc., an Illinois Corporation, operates for-profit universities

  16 and schools nationwide, and has its main headquarters in Downers Grove, IL 60515. Dewy does
  17 business in California by virtue of having their employees and agents place calls to California
  18 residents.
  19           4.     Plaintiff is informed and believes and thereon alleges that at all material times

  20 alleged, DOE defendants 1 through 25 are individuals and or entities retained by the defendants
  21 who have placed telephone calls to plaintiff in connection with their business operations.

  22 Plaintiff is informed and believes and thereon alleges that at all material times alleged, DOE
  23 defendants 26 through 50 are individuals and/or entities engaged in lead generation who were
  24 retained by the defendants to generate leads on defendants' behalf. Plaintiff is informed and
  25 believes and thereon alleges that at all material times alleged, DOE defendants 51 through 100

  26 are individuals and or entities selling for-profit private education, who have placed telephone

  27 calls to plaintiff in connection with their business operations.

  28          5.      The true names and capacities whether individual, corporate, associate or


                                                        -2-
                                                     COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 7 of 19 Page ID #:10

    1 otherwise of Defendants DOES 1 through 100 are unknown to plaintiff at this time, who

    2   therefore sues these defendants by such fictitious names. Plaintiff will seek leave of court to

    3 amend this complaint to show their true names and capacities when they are ascertained.

    4   Plaintiff is informed and believes, and thereon alleges, that each fictitiously named defendant is
    5 responsible in some manner for the occurrences alleged, and that plaintiffs injuries and damages

    6 as alleged were proximately caused thereby. Each reference in this complaint to "defendant,"

    7 "defendants," or a specifically named defendant refers also to all defendants sued under fictitious

    8 names.

    9          6.    Plaintiff is informed and believes, and thereon alleges, that at all times below
  10 1 mentioned, each defendant may have been the                                 joint venturer

  11 and/or representative of the remaining defendants; and in doing the things hereinafter mentioned,

  12 each defendant may have been acting within that course, scope and authority as an agent, servant,

  13 employee, joint venturer, partner, and representative, whether such capacity was actual or

  14 apparent, with the knowledge and consent of each other defendant, and as authorized and/or

   15 ratified by each of the remaining defendants who were working with the particular defendants.

  16           7.      Plaintiff is informed and believes and therefore alleges that at all relevant times,

  17 each defendant acted pursuant to a common plan and/or aided and abetted certain other

  18 defendants in the wrongful acts alleged in this complaint, such that each is jointly and severally

  19 liable for all harm caused to plaintiff, including that defendants may well be jointly and severally

  20    responsible and liable for the acts and occurrences set out below.
  21           8.    Plaintiff is further informed and believes and thereon alleges that the defendants
  22 and DOES I to 100 were instrumental in making telephone calls to plaintiff, for the purpose of

  23 selling their services.

  24           9. Whenever this complaint makes reference to any act of a defendant or defendants,
  25 the allegations shall be deemed to mean the act of those defendants named in the particular cause

  26 of action, and each of them, acting individually, jointly, or severally.

  27                                    JURiSDICTION AND VENUE

  ma           10.     This Court has jurisdiction in this matter pursuant to Code of Civil Procedure     §


                                                     -3-
                                                  COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 8 of 19 Page ID #:11

    'I 410.10, because defendants, and each of them, engaged in violations of 47 U.S.C. §227 and
    21 Penal Code § § 632 et seq. as well as the privacy rights granted to California residents under

    31I California's Constitution.

    4          It.     Venue is proper in this Court per Code of Civil Procedure §§ 395 and 395.5 in

    5 that defendants, and each of them, by placing multiple telephbne calls to a resident of the

    6 Southwest and South Districts, conducted business within the South District, specifically in San

    7 Pedro, California, defendants' obligations and liability arose in Los Angeles County, and

    8 defendants' breaches occurred in Los Angeles County. This courthouse is the proper venue in

    9 that as this case is not a personal injury matter, or a collection matter, it is properly venued in

  10        Lrtment 77 in the Central District          Mosk Courthouse.

  11

  12                                      FIRST CAUSE OF ACTION

   13                  UNLAWFUL RECORDING OF CALLS - Penal Code §§ 632.7, 637.2

   14                                    (Against All Defendants and DOEs 1 to 100)

  15           12.      Plaintiff realleges all paragraphs set out above alleged and incorporate these

        I
  16 allegations by reference as if fully set forth.
   17          13.      At or about 1:50 p.m. on January 5, 2015, plaintiff received an unsolicited

  18 telemarketing call, and 1-813-627-8640, University Alliance, and Brandon/Tampa FL showed
  19 on his cell phone's Caller ID feature. The caller was calling from University Alliance, and selling

   20 for-profit private university education programs. After over one minute on the telephone, plaintiff
  21 asked the University Alliance caller if he was recording the call surreptitiously. At about
  22 00:01:17 the caller admitted to recording the call without giving notice at the very beginning of

  23 the call. As well, there were no audible beeps. When asked why not state at the inception of the
  24 call that it was being recorded, the caller hung up. The University Alliance caller called back at

  25 2:01 PM, and still did not give notice at the beginning of the call that it was being recorded.
  26 Moreover, there were no audible beeps while the call was ongoing. On or about February ii,
  27 2015, plaintiff received an unsolicited telemarketing call from 813-627-8640. "University

  28 Alliance" and Brandonllampa FL showed on Caller ID. About 00:02:40 into the call, plaintiff


                                                     -4-
                                                  COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 9 of 19 Page ID #:12
   1 asked Erica if the call was being recorded. Erica responded "yes." There had been no notice

   2 giving given at the inception of the call, nor were there any audible periodic beeps.

   3           14.    At or about 3:11 PM on January 5,2015, a "Kelly" called from Devry University.

    4 On the Caller ID feature, Devry U, 1-562-997-5447, and Long Beach CA appeared. Kelly was

    5 selling a for-profit private education. Several minutes into the call, plaintiff asked Kelly if Devry

    6 University had a written do not call policy. Kelly responded "no." Kelly was next asked if the call

    7 was being recorded. Kelly responded "yes," and there was no announcement at the beginning of

    8 the call it was being recorded, nor were there any audible beeps. Kelly admitted to recording the

   .9 call about three minutes into the call. Plaintiff told her he was not giving her permission to record

  10 the call, to please save the recording, and to preserve the evidence._ - -

  11           15.     Plaintiff learned for the first time on February 9,2015 that Clickspark had.

  12 recorded a December 26, 2014 telemarketing call. On that date, plaintiff had received a
  13 telemarketing call from 215-465-2379, and "Pizzi Pizza" and Philadelphia showed on Caller ID,

  14 During the discovery phase of this lawsuit, plaintiff may unearth the existence of additional
  15 surreptitiously recorded calls.

  16           16.     Per Penal Code § 637.2, the above surreptitiously recorded calls can carry a

  17 statutory penalty of up to $5000 per call,
  18

  19                                    SECOND CAUSE OF ACTION

  20                   UNLAWFUL TELEMARKETING CALLS -47 U.S.C. § 227 (c) (5)

  21                         (Against all Named Defendants, and Does 1 to 100)
  22           17.      Plaintiff realleges all paragraphs set out above alleged and incorporate these
  23 allegations by reference as if fully set forth.
  24           18.    In or about 2014, but possibly earlier, plaintiff began receiving calls from
  25 defendants and their lead generators, although plaintiff's telephone numbers had been registered

  26 with the FTC's National DoNotCall Registry ("DNC List") for years when the calls began.
  27 Defendants were selling for-profit university degree programs, and plaintiff does not have and

  28 never has had a preexisting business relationship with these defendants. The calls continued


                                                     -5-
                                                  COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 10 of 19 Page ID #:13

        despite plaintiff seeking information like telephone iumbers and addresses, which is a precursor

    2 to asking the callers questions about written DoNotCall policies, DNC lists, etc. The callers often

    3 I hung up before plaintiff could tell them be is listed on the DNC Registry.

               19.     The calls placed by defendants University Alliance and Devry University are set

    5 forth above in paragraphs 13 and 14.. Beginning November 17, 2014, plaintiff began receiving a

    6 series of unsolicited teIemarketing calls from heavily Indian accented callers using 2 15-465-

    7 2379. The cell phon&s Caller ID feature showed 'Pizzi Pizza" and Philadelphia. Plaintiff learned
    8 for the first time on December 26, 2014 that Pizzi Pizza was a call center calling on behalf of
        www.degreematth.com and Clickspark LLC. On December 26, 2014, the heavily accented caller

   10 "Justin" transferred the call to a woman identifying herself as Rachel at www.degreernatch.com.

   11 Rachel was selling for-profit university degree programs at Florida Tech University online.

   12 Eventually during the December 26, 2014 call, plaintiff learned that www.degreernatch.com was
   13 a part of Clickspark LLC. Plaintiff received one telemarketing call from the 215 number on

   14   November 17, 2014, two telephone calls from the 215 number on both November 18 and 24,

   15 2014, one call on December 26, 2014, and a final call on February 9, 2015 from 3.10-341-4383.

   16 On February 9, 2015, plaintiff, had asked Kayla for Clickspark's written do not call policy two or

   17   three times, and in response she said she would add plaintiffs name to a list. She admitted as
   18   much that she did not know What a written do not call policy is. Plaintiff is informed and believes
   19   and thereon alleges that Kayla had not been properly trained in the do not call laws. During the

   20   February 9,, 2015 call 'from
                                   ' Kayla, she claimed that plaintiff had submitted an online application
   21 to www.degreematch.com. Plaintiff told her this was offalse. In context this false allegation that

   22   plaintiff made an online inquiry demonstrates an attempt by Clickspark LLC to try to avoid
   23   liability, thereby making the calls from Pizzi Pizza knowing or willful conduct, which will
   24   subject Clickspark to treble damages. Moreover, on February 9, 2015, the cell phone's Caller ID
   25   feature showed the 3 1.0-341-4383 number plus 'Degree Match" and El Segundo, CA. By using a
   26   spoofed telephone number and a fake entity name, 'i.e., Pizzi Pizza, Clickspark demonstrates
   27   knowing or willful conduct for each of the six calls from the 215-465-2379 number.

   28          20.     Plaintiff is informed and believes and thereon alleges that before the January 5,


                                                       -6-
                                                  COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 11 of 19 Page ID #:14

    1 2015 telemarketing calls were made by University Alliance, a lead generator calling on its behalf

    2 had telemarketed plaintiff in connection with signing up for a private university degree program.

    3 At no time has plaintiff ever made an online inquily or application to University Alliance, as well

    4 as any other for profit private university degree program. During the Februaty 11, 2015 call from

    5 Erica at University Alliance, she was asked if her company had a written do not call policy which

    6 she could mail to plaintiff. In response, Erica said she did not know what a written do not call

    7 policy is. There is case law to the effect that the failure by a telemarketer to have a written do not

    [1 call policy in existence, and available on demand, demonstrates willful or knowing conduct

        which will entitle the plaintiff to recover treble damages from the telemarketer,

   10          21.     Plaintiff isi

   11 2015 telemarketing call was made by Devry University, a lead generator calling on its behalf had

   12 telemarketed plaintiff in connection with signing him up for a private university degree program.
   13 This was the first telephone call plaintiff had ever received from Devry University, and at no time
   14 has plaintiff ever submitted an online application, nor made an online inquiry, to Devry
   15 University or any other website advertising for-profit private education degree programs. As an

   16 aside, plaintiff is informed and believes that University Alliance and Devry University have
   17 contributed to what is commonly known today as the "student loan debt crisis,'

   18          22.     Each call carries a $500 statutory penalty per TCPA violation, and because the

   1.9 TCPA was willfully and knowingly violated, the court may treble the damages for each violation

   20 to $ 1.500 per call. There is a four-year statute of limitations on unlawful telemarketing calls.
   21          23      Plaintiff is further informed and believes and thereon alleges defendants and their
   22 lead sources and call centers are in violation of 47 C.F.R. § 64.1200(d) (2) in that all defendants
   23 were telemarketing personnel not properly trained and informed about the existence and use of
   24 the DNC list.
   25          24.     Plaintiff is informed and believes and thereon alleges that the lead sources and
   26 call centers and employees, were in violation of 47 C.F.R. § 64.1200(d) (4) in that the
   27 telemarketers did not provide plaintiff with the name of the individual caller, the name of the

   28 person or entity on whose behalf the call is being made, and did not provide a telephone number


                                                     -7...
                                                  COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 12 of 19 Page ID #:15

    1 or address at which the person or entity may be contacted.

    2           25.    Plaintiff is informed and believes and thereon alleges that all defendants are in

    3 violation of 47 C.F.R. § 64.1200(c) (2) in that they telemarketed plaintiff, who is a residential

     4   telephone subscriber who has registered his telephone numbers on the National Do Not Call

    5 Registry of persons who do not wish to receive telephone solicitations that is maintained by the

     6 federal government.

    7           26. Plaintiff is informed and believes and thereon alleges that all defendants do not

         maintain their own written do not call policy in compliance with 47 C.F.R. § 64.1200(d) (1) and

         at times have refused to mail the policy, also a 47 C.F.R. § 64.1200(d) (1) violation.

   10           27.    Plaintiff is informed and believes and

   11 maintain their own do not call list in violation of 47 C.F.R. §64.1200(d) (3) and at times have

   12 not placed plaintiff's phone number on a newly created list.

   13            28. Plaintiff is informed and believes and thereon alleges defendants and each of them

   14    violated 47 U.S.C. § 227 and 47 C.F.R. § 64.1200 by calling plaintiff's cellular telephone since

   15 at least 2014.

   16            29.      Plaintiff is informed and believes and thereon alleges that all of the above B
   17 mentioned violations of the Telephone Consumers Protection Act [TCPAJ, 47 U.S.C. § 227,

   18 were knowing and willful in that defendants knew they acted, or failed to act, in a manner that

   19 violated the statute, and that the defendants consciously and deliberately committed or omitted an

   20 act that violated the statute statutes. Therefore, plaintiff will be entitled to an award of treble

   21 damages for each discrete TCPA violation committed by defendants, and each of them..

   22           30.     As a proximate result of the unlawful activities of these defendants, and each of
   23 them, per 47 U.S.C. § 227 (c) (5), plaintiff has a private right of action to recover actual damages

   24    or $500 per violation, whichever is greater. Plaintiff will amend this complaint when the actual
   25 number of violations is ascertained.

   26           31.     Due to the knowing and willful misconduct by defendants, and each of them, the
   27    court is authorized to award plaintiff up to three times the award amount available under

   28 subparagraph (B) of 47 U.S.C. § 227(c)(3).


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                                                   COMPLAINT
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 13 of 19 Page ID #:16

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   2          WHEREFORE, plaintiff prays for judgment against defendants, and, each of them, as
   3 follows:

    4   FOR THE FIRST CAUSE OF ACTION:
    5         1.     For statutoly penalties of $5000 per call per Penal Code § 637.2;
    6         2.     For prejudgment interest at the legal rate from the date of damage;
    7   FOR THE SECOND CAUSE OF ACTION:
    8         3.     For statutoly damages of $500 for each separate violation of 47 1JSC. § 227 and
    9 47 CF.R. § 64.1200;

  10          4.     For prejudgment interest at the legal rate from the da1oLdamage.and

  11          5.     For treble damages for each violation of 47 U.S.C. § 227 and 47 CY.R. §64.1200
  12 violation that are determined to be willful or knowing.

  13 FOR ALL CAUSES OF ACTION:

  14          6.     For costs of suit; and
  15          7.     For such other and further relief asthe Court may deem just and proper.

  16

  17    DATED: January 5, 2015                      ' •FICES ROBERT F. SMITH
                                              LAW 'OF
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  19                                          By:___
  20                                          ROBERT F. SMITH, attorney for plaintiff

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Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 14 of 19 Page ID #:17
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 15 of 19 Page ID #:18



    1   manner whatsoever by reason as a result of any act or omission by Defendant alleged in the

    2   Complaint.

    3                                         SEPARATE DEFENSES
    4            Separately and as joint defenses to each cause of action in Plaintiff’s Complaint, and

    5   pursuant to California Code of Civil Procedure section 431.30(g), DeVry alleges the following

    6   defenses. In asserting these defenses DeVry does not assume the burden of proof as to matters

    7   that, pursuant to law, are Plaintiff’s burden to prove:

    8                                     FIRST SEPARATE DEFENSE
    9                         (Failure to State a Cause of Action – All Causes of Action)
   10            Plaintiff’s Complaint, and each purported cause of action therein, fails to state facts

   11   sufficient to constitute a cause of action or state a claim upon which relief may be granted

   12   against DeVry.

   13                                    SECOND SEPARATE DEFENSE
   14                                     (No Injury– All Causes of Action)
   15            Plaintiff sustained no injuries, damages or loss by reason of any act of DeVry.

   16                                     THIRD SEPARATE DEFENSE
   17                                 (Failure to Mitigate– All Causes of Action)
   18            To the extent Plaintiff sustained or has suffered any injuries, damages or loss by reason of

   19   any act of DeVry alleged in the Complaint, which DeVry denies, Plaintiff has failed to mitigate

   20   those damages and his claims are therefore barred in whole or in part.

   21                                    FOURTH SEPARATE DEFENSE
   22                               (Statute of Limitations – All Causes of Action)
   23            Plaintiff’s claims are barred in whole or in part by the applicable statutes of limitations,

   24   including, but not limited to, California Civil Code section 340 and 28 U.S.C. § 1658(a).

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                      Defendant’s Answer to Plaintiff’s Unverified Complaint; Case No. 16K00055
        38105742v.1
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 16 of 19 Page ID #:19



    1                                     FIFTH SEPARATE DEFENSE

    2                                     (Consent – All Causes of Action)

    3            Assuming that DeVry engaged in the conduct attributed to it, which it denies, Plaintiff

    4   consented to such conduct. DeVry further alleges, based upon information and belief, that

    5   Plaintiff is barred, in whole or in part, from maintaining his alleged causes of action because he

    6   provided “prior express consent” within the meaning of the TCPA for all calls allegedly placed

    7   to his cellular telephone number by any alleged automated telephone dialing system.

    8                                     SIXTH SEPARATE DEFENSE

    9                                     (Estoppel – All Causes of Action)

   10            Plaintiff is equitably estopped from asserting his claims for relief because Plaintiff has by
   11   his own conduct, intentionally induced, caused, and/or contributed to the alleged conduct of
   12   DeVry of which he now complains.
   13                                   SEVENTH SEPARATE DEFENSE
   14                                      (Laches – All Causes of Action)
   15            Plaintiff’s claims are barred in whole or in part by the equitable doctrine of laches.
   16                                    EIGHTH SEPARATE DEFENSE
   17                               (Privilege/Justification – All Causes of Action)
   18            Assuming arguendo that any of the actions alleged in the Complaint were taken by
   19   DeVry, such actions were at all times privileged or justified.
   20                                     NINTH SEPARATE DEFENSE
   21                                    (Ratification – All Causes of Action)
   22            Plaintiff’s claims are barred in whole or in part because any conduct by DeVry was
   23   ratified by Plaintiff.
   24                                     TENTH SEPARATE DEFENSE
   25                                  (Unclean Hands – All Causes of Action)
   26            Plaintiff’s claims for relief are barred to the extent he has unclean hands.
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                      Defendant’s Answer to Plaintiff’s Unverified Complaint; Case No. 16K00055
        38105742v.1
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 17 of 19 Page ID #:20



    1                                   ELEVENTH SEPARATE DEFENSE

    2                                       (Waiver – All Causes of Action)

    3            Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

    4                                    TWELFTH SEPARATE DEFENSE

    5                          (Independent/Intervening Conduct – All Causes of Action)

    6            To the extent that Plaintiff has suffered any damage, injury, and/or harm as a result of the

    7   matters alleged in the Complaint, which DeVry denies, any damage, injury, and/or harm

    8   sustained by Plaintiff was the direct and proximate result of the independent, intervening,

    9   negligent, criminal and/or unlawful conduct of independent third parties or their agents, and not

   10   any act or omission on the part of DeVry.

   11                                 THIRTEENTH SEPARATE DEFENSE

   12                   (Commercially Reasonable and Lawful Conduct – All Causes of Action)

   13            At all relevant times, DeVry acted in a commercially reasonable and lawful manner.

   14                                 FOURTEENTH SEPARATE DEFENSE

   15                                    (Due Process - All Causes of Action)

   16            The imposition of liability and/or statutory damages under the TCPA and/or California

   17   Penal Code Sections 632.7 and 637.2, as sought in the Complaint, would violate provisions of

   18   the United States Constitution, including the Due Process Clause, and/or the California

   19   Constitution.

   20                                   FIFTEENTH SEPARATE DEFENSE

   21                    (No Reasonable Expectation of Confidentiality - First Cause of Action)

   22            Plaintiff had no reasonable expectation of confidentiality as to any of the alleged

   23   telephone calls to or from DeVry.

   24                                   SIXTEENTH SEPARATE DEFENSE

   25                    (No Automated Telephone Dialing System - Second Cause of Action)

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                      Defendant’s Answer to Plaintiff’s Unverified Complaint; Case No. 16K00055
        38105742v.1
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 18 of 19 Page ID #:21



    1            Plaintiff’s cause of action is barred, in whole or in part, because any telephone calls

    2   allegedly made to Plaintiff’s cell phone by DeVry were not made using an “automated telephone

    3   dialing system” within the meaning of the TCPA.

    4                                SEVENTEENTH SEPARATE DEFENSE
    5                            (Not Knowing Or Willful – Second Cause of Action)
    6            Plaintiff is precluded from any recovery from DeVry for a willful or knowing violation of

    7   the TCPA because any such violation, which DeVry denies occurred, was not willful or knowing

    8   within the meaning of the TCPA

    9                                       RESERVATION OF RIGHTS

   10            DeVry reserves the right to assert additional defenses should it become aware of

   11   additional defenses during the course of this litigation.

   12            WHEREFORE, DeVry prays for judgment as follows:

   13            1.       That Plaintiff take nothing by his Complaint, and that this Complaint be dismissed

   14   with prejudice;

   15            2.       For costs of suit and attorneys’ fees;

   16            3.       That judgment be entered in DeVry’s favor; and

   17            4.       For such other further relief as this Court may deem just and proper.

   18   DATED: March 16, 2017                                      SEYFARTH SHAW LLP
   19

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                                                                   By:
   21
                                                                         Michael J. Burns
   22                                                                    Joseph A. Escarez
   23                                                              Attorneys for Defendant
                                                                   DEVRY UNIVERSITY, INC.
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                      Defendant’s Answer to Plaintiff’s Unverified Complaint; Case No. 16K00055
        38105742v.1
Case 2:17-cv-02117-JAK-KS Document 1-1 Filed 03/16/17 Page 19 of 19 Page ID #:22
